         Case 1:21-cv-00954-LY Document 44 Filed 01/04/23 Page 1 of 1




                           IN THE UNITED STATES DISTRICT COURT                            '"L
                            FOR THE WESTERN DISTRICT OF TEXAS
                                      AUSTIN DIVISION
                                                                                                      Z7

                                                                                                'Cr
 NATJN PAUL,     et al.,


 Plaintiffs,
                                                     Civ. No. 21-cv-954-LY


 RANI SABBAN,      etal.,


 Defendants.


                                                     ORDER

       Pursuant to Local Rule AT-3, the Court GRANTS David G. Cutler's motion to withdraw

as counsel of record for Defendant T. Preston Joy, Jr. Juliana M. Barrett, who has previously

appeared in this case, will continue to represent Mr. Joy.

       Itis SO ORDERED.


Dated: January       ,   2023


                                                      U      ed States Di
